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     EXHIBIT C
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                                                                             Page 1
                       IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


          MARICEL MARCIAL,                             )
                                                       )
                       Plaintiff,                      )
                                                       ) Civil Action No.
                 vs.                                   ) 16-CV-06109
                                                       )
          RUSH UNIVERSITY MEDICAL                      )
          CENTER, et al.,                              )
                                                       )
                       Defendants.                     )



                         The continued deposition of
          MARICEL MARCIAL, taken in the above-entitled
          cause before Teresa Volpentesta, a notary public
          within and for the County of Cook and State of
          Illinois, taken pursuant to the Federal Rules of
          Civil Procedure for the United States District
          Courts, at Suite 2200, 120 South Riverside
          Plaza, Chicago, Illinois, on the 4th day of
          April, A.D. 2018, at 2:08 o'clock p.m.
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                                                                           Page 26
    1            Q.      Did you talk to him about any

    2     documents?

    3            A.      I think so.       Maybe I mentioned about

    4     evaluations.

    5            Q.      Okay.    Do you know was a

    6     transcription of the tape recording you made of

    7     the meeting in October of 2013 with Dr. Kremer

    8     and Mary Johnson?

    9                    Was there a transcription made of

   10     that recording?

   11            A.      Like recently we had to transcribe it

   12     for your -- for this purpose.

   13            Q.      For what purpose?

   14            A.      For this litigation.

   15            Q.      What do you mean?

   16            A.      We listened to it and we transcribed

   17     it and gave it to our lawyer.

   18            Q.      Why did you transcribe it?

   19            A.      Because we were told to write it out.

   20            Q.      By whom?

   21            MS. SIEGEL:      I am going to instruct the

   22     witness not to divulge any attorney/client

   23     communications.

   24
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                                                                           Page 27
    1            MR. LAND:      Well, she kind of already did if

    2     that's something you told her.

    3     BY MS. LAND:

    4            Q.      I just want to know -- you just said

    5     someone told you to create a transcription.                   Who

    6     told you that?

    7            A.      Our lawyer advised us to --

    8            MS. SIEGEL:      Don't disclose any legal

    9     advice.

   10     BY MR. LAND:

   11            Q.      Did you talk to anyone else about the

   12     transcription of that record -- recording?

   13            A.      No.

   14            Q.      Do you know if Dr. Farmilant has a

   15     copy of that transcription?

   16            A.      Not that I am aware of.

   17            Q.      Did you tell Dr. Farmilant that you

   18     believe that stress contributed a great deal to

   19     the decline in your performance?

   20            A.      Yes, I think I mentioned that to him.

   21            Q.      And by that, you meant your clinical

   22     performance at Rush?

   23            A.      No.    By that I mean the bullying and

   24     the harassment that I was getting from the
